         Case 1:18-cr-00905-LTS Document 157
                                         156 Filed 10/19/20
                                                   10/09/20 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     October 9, 2020

The Honorable Laura Taylor Swain
United States District Judge
United States Courthouse                                          MEMO ENDORSED
500 Pearl Street, Chambers 1640
New York, NY 10007

       Re:     United States v. Xiao Yu Wang, et al., 18 Cr. 905 (LTS)

Dear Judge Swain:

       The Government writes to respectfully request an adjournment of the next status
conference in the above-captioned case, currently scheduled for October 22, 2020, for
approximately 30 days. The parties are continuing to discuss potential pretrial resolutions, a
process that has been made more difficult by the COVID-19 pandemic, which has negatively
impacted the parties’ ability to move the case forward. The Government consulted with defense
counsel for each defendant, who consent to the adjournment.

        Accordingly, the Government respectfully requests that time be excluded under the Speedy
Trial Act between October 22, 2020 through the next scheduled conference, because the “ends of
justice served by the granting of such continuance outweigh the best interests of the public and the
defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). The Government consulted with defense
counsel for each defendant, who do not object to the exclusion of time.

                                              Respectfully submitted,
The conference is adjourned to
November 16, 2020, at 12:00 p.m.              AUDREY STRAUSS
noon. The time period from today              Acting United States Attorney
through November 16, 2020, is
excluded from speedy trial
computations for the reasons stated
                                          by: _/s/Elizabeth A. Espinosa _____
above. DE #s 155 and 156
                                              Elizabeth A. Espinosa
resolved.
                                              Assistant United States Attorney
SO ORDERED.                                   (212) 637-2216
10/9/2020
/s/ Laura Taylor Swain, USDJ
